&lt;div data-spec-version="0.0.3dev" data-generated-on="2024-07-28"&gt;
 &lt;div class="generated-from-iceberg vlex-toc"&gt;
 &lt;link href="https://doc-stylesheets.vlex.com/ldml-xml.css" rel="stylesheet" type="text/css"&gt;&lt;/link&gt;
 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:oconnellvwoodlandparkschooldistrictno24sc34july22,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Erin O'Connell&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Woodland Park School District&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Woodland Park School District Board of Education&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Chris Austin&lt;/span&gt;&lt;/span&gt;, in his official capacity as &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Board&lt;/span&gt; &lt;span class="ldml-role"&gt;Member&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Gary Brovetto&lt;/span&gt;&lt;/span&gt;, in his official capacity as &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Board&lt;/span&gt; &lt;span class="ldml-role"&gt;Member&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;David Illingworth II&lt;/span&gt;&lt;/span&gt;, in his official capacity as &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Board&lt;/span&gt; &lt;span class="ldml-role"&gt;Member&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Suzanne Patterson&lt;/span&gt;&lt;/span&gt;, in her official capacity as &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Board&lt;/span&gt; &lt;span class="ldml-role"&gt;Member&lt;/span&gt;&lt;/span&gt;; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;David Rusterholtz&lt;/span&gt;&lt;/span&gt;, in his official capacity as &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Board&lt;/span&gt; &lt;span class="ldml-role"&gt;Member&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondents&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC34&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;July 22, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="500" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="500" data-sentence-id="517" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_517"&gt;&lt;span class="ldml-cite"&gt;Case No. 22CA2054&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="558" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="558" data-sentence-id="574" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari GRANTED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="621" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="621" data-sentence-id="637" class="ldml-sentence"&gt;Whether
 the judicially created cure doctrine allowing public bodies
 to &lt;span class="ldml-quotation quote"&gt;“cure”&lt;/span&gt; prior violations of Colorado's Open
 Meetings Law &lt;span class="ldml-parenthetical"&gt;(COML)&lt;/span&gt; contravenes COML's plain meaning and
 longstanding precedent.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="856" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="856" data-sentence-id="872" class="ldml-sentence"&gt;Whether
 expanding the judicially created cure doctrine to apply to
 intentional violations of statutory notice requirements for
 the purpose of addressing a controversial issue outside the
 public eye contravenes the plain language and intent behind
 COML and &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;'s mandates regarding its
 interpretation.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1216" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1216" data-sentence-id="1232" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred by expanding the judicially
 created cure doctrine to permit formal actions under &lt;span class="ldml-entity"&gt;section&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;24-6-402&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, to be reinstated retroactive to
 the date of the original violation and thereby preclude an
 award of prevailing-&lt;span class="ldml-entity"&gt;party&lt;/span&gt; attorney fees under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section
 24-6-402&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;, C.R.S. 2023&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, to &lt;span class="ldml-entity"&gt;the plaintiff&lt;/span&gt; who successfully
 proved the original violation.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1656" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1656" data-sentence-id="1672" class="ldml-sentence"&gt;DENIED
 AS TO ALL OTHER ISSUES.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;